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                             UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 8
                                      AT SEATTLE
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10          STEVEN VANCE, et al.,                         CASE NO. C20-1082JLR

11                               Plaintiffs,              ORDER
                   v.
12
            MICROSOFT CORPORATION,
13
                                 Defendant.
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15          Before the court are four motions: (1) Plaintiffs Steven Vance and Tim Janecyk’s

16   motion for class certification (MCC (Dkt. # 70)); (2) Defendant Microsoft Corporation’s

17   (“Microsoft”) motion for summary judgment (MSJ (Dkt. # 84)); (3) Plaintiffs’ Federal

18   Rule of Civil Procedure 56(d) motion for additional discovery (56(d) Mot. (Dkt. # 107));

19   and Microsoft’s motion to supplement the record on class certification (Supp. Mot. (Dkt.

20   # 113)). The court has considered the motions, the parties’ submissions in support of and

21   in opposition to the motions, the relevant portions of the record, and the applicable law.

22   The court also heard oral argument on Monday, February 7, 2022. (See 1/31/22 Min.


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 1   Order (Dkt. # 115); 2/7/22 Min. Entry (Dkt. # 117).) Being fully advised, the court

 2   makes the following rulings:

 3         1.     The court STRIKES Microsoft’s motion for summary judgment (Dkt. # 84)

 4   without prejudice to Microsoft renewing its motion after the parties complete the

 5   discovery ordered below;

 6         2.     The court GRANTS IN PART Plaintiffs’ Federal Rule of Civil Procedure

 7   56(d) motion for additional discovery (Dkt. # 107) as follows:

 8                (a)    Plaintiffs may take the depositions of Benjamin Skrainka, Samira

 9         Samadi, Jennifer Wortman Vaughn, Matthew M. Swann, Mustafa Kasap, Andy

10         Bruncke, and Jeffrey Chirico (collectively, “the Microsoft Declarants”) and Dr.

11         Michele Merler. Because Dr. Merler has already been deposed in relation to

12         Plaintiffs’ motion for class certification, Dr. Merler’s deposition shall be focused

13         on the issues raised by Microsoft’s motion for summary judgment;

14                (b)    Microsoft shall produce to Plaintiffs within 14 days after entry of

15         this order all documents upon which the Microsoft Declarants relied in drafting

16         their declarations in support of Microsoft’s motion for summary judgment (“the

17         declarations”);

18                (c)    Microsoft shall identify to Plaintiffs within 14 days after entry of this

19         order all non-attorney individuals with whom the Microsoft Declarants consulted

20         in preparing the declarations;

21                (d)    Microsoft shall produce to Plaintiffs by no later than 30 days after

22         entry of this order all non-privileged documents in its possession or control that


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 1          were drafted, sent, received, or reviewed by the Microsoft Declarants that refer or

 2          relate to non-party International Business Machines Corporation’s (“IBM”)

 3          Diversity in Faces (“DiF”) Dataset;

 4                 (e)    The parties shall complete the above discovery by no later than

 5          Friday, April 29, 2022;

 6                 (f)    The court has not yet ruled on the additional discovery requested by

 7          Plaintiffs in their Rule 56(d) motion. If, after Plaintiffs complete their depositions

 8          of the Microsoft Declarants, additional discovery is necessary to oppose summary

 9          judgment, they may file a second Rule 56(d) motion specifically identifying that

10          additional discovery by no later than Thursday, May 12, 2022; and

11                 (g)    If Plaintiffs do not file a second Rule 56(d) motion, Microsoft shall

12          file its renewed motion for summary judgment, if any, by no later than Thursday,

13          May 12, 2022. The motion shall be noted in accordance with Local Rules W.D.

14          Wash. LCR 7(d)(3). If Plaintiffs do file a second Rule 56(d) motion, the court will

15          set a revised deadline for the motion for summary judgment based on its ruling on

16          Plaintiffs’ motion.

17          3.     The court STRIKES Plaintiffs’ motion for class certification (Dkt. # 70)

18   without prejudice to Plaintiffs re-filing their motion after the court decides Microsoft’s

19   motion for summary judgment. Because the motion for class certification has been

20   stricken, the court DENIES Microsoft’s motion to supplement the class certification

21   record (Dkt. # 113) as moot; and

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 1         4.     The court GRANTS Plaintiffs’ counsel’s request to waive the requirement

 2   set forth in Local Rules W.D. Wash. LCR 83.1(d)(2) that local counsel sign all motions

 3   and other documents filed with this court. The court reminds counsel, however, that local

 4   counsel must be prepared to handle this matter in the event pro hac vice counsel are

 5   unable to be present on any date scheduled by the court.

 6         Dated this 8th day of February, 2022.

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                                                     JAMES L. ROBART
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                                                     United States District Judge
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